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Source image from Sparrow Declaration
(ECF 6273-1), Page 46 of 72.

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Exc|uded
Product

     

1 1 l ) Cigarette companies
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j § 1 with enough nicotine to create
' ' and sustain addiction.

 

 

 

 

 

    
       

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Smoking also causes reduced fertility, low birth
' ‘1 ,_, ii § f y _ weight in newborns, and cancer of the cervix.
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Same source image;

showing manufacturer and “exc|uded brand” boundaries

Phi|ip lV|orris

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Exc|uded
Product

     

 

 

1 1 1 l l Cigarette companies
1 ,_,..1.1.,.,, ,__mM,[m-m intentionally designed cigarettes
" ”~”‘""”‘""'-°"""°" g v with enough nicotine to create
' and sustain addiction. l
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‘JL' ";’ "-b` \*5"' 4""` "='\"-‘»'-' ' " ‘. ` .. ). ‘¢é>~ __-_ >" `: tr 1 m “:l r. mr hr n "/ *
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Exc|uded Brand " z

lTG Brands _ m

 

Exc|uded Brand

Same source image;

showing manufacturer and “exc|uded brand” boundaries, With court-order statements
in a fixed percentage of 25% of each manufacturer’s “covered brand” area

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Cigarette compan s
win 11 umw c',',§`;,m v _¢ , intentionally designed cigarettes
“M""”'"“'°"""°” ` _ with enough nicotine to create
j and sustain addiction.

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no safe c»garene.

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There is no safe level of Exposure w secondhand smoke.
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mm

 

Same source image;
showing court-order statements in a fixed percentage of 25% of each
manufacturer’s “covered brand” area

